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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                            Criminal No. 19-101 (SRN)

 UNITED STATES OF AMERICA,                  )
                                            )
                     Plaintiff,             )
                                            ) GOVERNMENT’S POSITION ON
                v.                          ) SENTENCING
                                            )
 AARON RHY BROUSSARD,                       )
                                            )
                     Defendant.             )

      COMES NOW the United States of America, by and through its undersigned

attorneys, Andrew M. Luger, United States Attorney for the District of Minnesota, and

Thomas M. Hollenhorst and Melinda A. Williams, Assistant United States Attorneys, and

submits the following position on sentencing concerning the defendant, Aaron Rhy

Broussard.    The government asks the Court to sentence the defendant to life

imprisonment.

                                      Introduction

      In two short months, the defendant—a drug dealer—killed eleven young and vibrant

people. He took them away from their families, their loved ones, and their communities.

He extinguished the bright promise they offered the world. He caused untold suffering

for many others who just barely survived. He did so for one reason—money.

      As this Court knows, the defendant made money by obtaining drugs from China and

selling them over the internet to customers in the United States. He tried to evade United

States drug laws by describing his drugs as “plant food,” but he was not fooling anyone.

The defendant ran a dangerous business. His customers—professors, students, nurses,
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and others struggling with addiction—sought out Adderall and other stimulant drugs—

drugs designed to keep them awake and alert. The defendant bought these drugs from

sketchy labs in China, labs that he knew sold all types of drugs, including fentanyl. He

was warned by his suppliers to test his drugs before he distributed them. Sometimes he

did. Other times, he did not bother. At least once before, the defendant encountered a

“bad batch”—drugs that were not what they purported to be. Drugs that sickened and

endangered his customers. He was not deterred.

      In April and May 2016, the defendant sold what he initially thought to be an

Adderall equivalent to customers around the country. Instead, it was fentanyl—pure, and

deadly. When customers consumed the smallest of amounts—unaware that they had been

dealt a deadly opioid—they quickly overdosed and most died. A lucky few survived,

though many with lifelong consequences. What is even more egregious, even when the

defendant knew his customers were overdosing, he did nothing to stop it.

      Because of the defendant, 11 people are dead. Several others were seriously

injured. The defendant could have stopped it and did not. He has never—not once—

shown remorse. The government asks for the only just and fair sentence in this case—a

sentence of life imprisonment.

                                  Procedural History

      On April 10, 2019, the defendant was charged in the Indictment with a multi-object

drug conspiracy and with numerous related drug crimes. Doc. 1. 1 The majority of the


       1. Upon unopposed government motions, the Court twice revised the Indictment
to delete certain surplusage. See Doc. 161, 168.

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counts alleged that the defendant’s crimes caused death or serious bodily injury. Id. On

March 31, 2022, a jury convicted the defendant on all 17 counts of the Second Revised

Indictment and found that the defendant’s criminal misconduct resulted in the deaths of 11

people and serious bodily injury to four others. Doc. 199, 201.

                      The Nature and Circumstances of the Offense

       The Presentence Investigation Report (“PSR”) accurately summarizes the facts of

this case. See PSR ¶¶ 7-41. However, some things bear repeating. Because of the

defendant’s reckless and wanton drug trafficking activities, at least 11 people died and

several others were seriously injured. On at least two occasions during the period of the

conspiracy, the defendant, after learning that the drugs he was sending to his customers

were causing serious overdoses, continued to market and sell those same drugs. Most

importantly, in April and May 2016, the defendant distributed pure doses of fentanyl to

dozens of customers, and he continued to market and distribute these drugs even after he

learned that customers were overdosing. The defendant could have saved lives if he had

given it any concern at all. In fact, even his China-based supplier inquired as to whether

he had tested the drugs he was distributing. As many customers fell ill, and even after

many had died, the defendant did nothing. The tragedy is that the defendant could have

simply sent out another of his “blast” e-mails to warn customers of the lethal effects of the

drugs he was sending; but, he did nothing. What’s more, the defendant has shown no

remorse for destroying the lives of so many victims and appears to be indifferent to the

sadness and grief that weighs upon those left behind.




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       The Court sat through the trial and likely does not need to be reminded of the human

tragedy and suffering caused by the defendant’s actions. Yet, who could forget the

“silent” but resounding testimony of Theodore Trotman, whose speaking ability and

freedom of movement has been forever taken from him; or Donald Stiling who testified of

the pain and permanent injuries inflicted upon him and the profound sadness from the loss

of his girlfriend, Devon Masik; or Joel Secory who testified about the moment of terror

when he realized his body was shutting down and he could do nothing about it; or Molly

Sender who testified that she warned the defendant about her serious overdose, but he did

nothing. And who could forget the riveting testimony of those left behind who, in the

blink of an eye, lost their sons, daughters, brothers, sisters, husbands, and parents. Finally,

who could forget the eleven lives that the defendant snubbed out – Stephen Fry, Timothy

Robertson, Matthew Williams, Devon Masik, Jason Beddow, Daniel Flynn, Scott Beimel,

Craig Karp, Vamsi Prasad, Patrick Reinsma, and Amanda Leach (and the tragic death of

Caleb Smith that followed in the aftermath).

                                 Victim Impact Statements

       There is no one better to talk about the sadness, sorrow, loss and grief of those left

behind than those who are suffering it first-hand. So we leave it to them to tell their stories

in their own words. See PSR ¶¶ 42-49. The following is a selection of some of their

many comments:

       a. Mother of Patrick Reinsma: I am 75 years old and I will not have the comfort
          of knowing for the rest of my life that I will never see my son again. [Patrick]
          was my youngest child and my only son. He traveled a lot for his job so usually,
          on his way home at night, he could call me or one of his sisters, or his friends.
          He kept in touch with just everyone he knew. He called me every Sunday on


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   his way to or from church. It's difficult to describe who he was but he was one
   of those people who could light up a room. If you ever met him, you would
   never forget him. He had a gift for remembering some little thing about
   everyone he met. His passing has left a void that will never be filled for me,
   his sisters, his cousins, his friends. He was a gift to all of us. Broussard is a
   murderer. He took the life of not only Patrick but 11 others and permanently
   disabled 4 more. He should never be released from custody to inflict more
   harm on others. Of the lives Broussard took who can say if one of them may
   have discovered a cure for cancer, or a way to stop global warming or written a
   wonderful piece of literature, or composed a magical piece of music. The
   possibilities of what they could have done are endless but we'll never know
   because of Broussard. See PSR ¶ 44.

b. Parents of Daniel Flynn: [Daniel] was our oldest son who was just getting to
   the stage of getting his life heading in a direction that would have been amazing
   for his son who was only 3 at the time. All that was stolen from him and us as
   his parents and brothers and sisters. These are things I want to remember about
   [him] and what he meant to so many: [He] was smart, good at whatever he did,
   put his whole self into everything because he wanted to do it right, funny with a
   dry sense of humor like his dad, had his dad's gleam in his eyes when he looked
   at you sometimes that made you wonder what he was thinking, kind, easy going,
   a little shy, generous, he loved to read and draw and knew his way around a
   computer, neat like no other man I know – probably had a bit of OCD but who
   doesn't, it just has a name now – most of all he loved with no conditions and he
   was a great daddy to [his son]. As far as sentencing, we believe [Broussard]
   should receive the maximum sentence allowed by law for his blatant disregard
   for the lives of all the victims. This was a senseless crime that forever changed
   the lives of so many and while nothing will ever bring any of them back, the
   ones left behind that loved them so much deserve to know that someone will
   pay a price for what they did and that we can hold our heads high knowing they
   did not die in [vain]. PSR ¶ 45.

c. Father of Stephen Fry: In speaking with the investigator for the case, I got the
   impression that many of Broussard’s victims in this crime were wonderful
   people. I can say with certainty that Stephen was a wonderful person. My
   hope in [writing this] is to encourage you to keep Broussard away from society
   for as long as possible to reduce the likelihood that others like Stephen will
   suffer at his hands in the future. Stephen was extremely smart, often described
   as brilliant by his teachers. A Georgia Tech professor spoke at his memorial
   service, and said that in 45 years of teaching chemistry, he had never had a
   student as engaged as Stephen. Stephen began using psychoactive drugs when
   he was about 14 or even before, and was in several treatment and rehab programs
   during the last ten years of his life. He was showing strong signs of finally


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          having his addiction issues under control when he was 24, a year before his
          death. He through-hiked the entire Appalachian trail, got himself back into
          school at Georgia Tech, and was getting good grades. He had developed a
          pattern of helping others with addiction issues, and at his memorial service two
          young women spoke to me to say that they credited him with saving their lives.
          Broussard knew he was selling a lethal drug to people who had ordered a non-
          lethal drug. His complete lack of concern for the well-being of others suggests
          the kind of sociopathology that is not likely to change over time. Keeping
          Broussard locked away from society for life seems appropriate. See PSR ¶ 46.

       d. Theodore Trotman: My heart stopped for 8 minutes, leading to anoxic brain
          injury, dual scotoma (legal blindness), secondary Parkinsonism, and a complete
          inability to speak. My quality of life has been profoundly affected. Before my
          injury, I was a university lecturer, a gifted linguist, and a powerlifter. After my
          injury, I can no longer interview for positions, much less do the job, in my
          chose[n field], or any other field. My mother has become my de facto full-time
          caregiver. I’ve received more than 75 hours of speech, physical, and
          occupational therapy. I recommend leniency, if an[d] only if [Broussard]
          expresses remorse for the deaths and serious bodily injury his actions caused. I
          cannot accurately assess the financial impact, to my life, as I was just embarking
          on a promising future career. There is no amount of money that would
          adequately replace what Aaron Broussard has taken from me. See PSR ¶ 47.

                          The Criminal History of the Defendant

       The defendant has a prior juvenile adjudication for aiding and abetting simple

robbery, and prior adult convictions for possession of drug paraphernalia and driving

without a license. PSR ¶¶ 68-72. He has one criminal history point, which places him in

criminal history category I. PSR ¶ 73.

                   Guideline Range and Sentencing Recommendation

       The government agrees with the probation office that the defendant has a base

offense level of 38 (see USSG § 2D1.1(a)(2)), 2 increased by two levels because the offense


       2 . All references to the Sentencing Guidelines refer to the 2016 Guidelines
Manual, which was in effect at the time of the instant offenses. The parties agree with the
probation office that the current manual would pose an ex post facto issue. See PSR ¶ 53.

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involved the importation of an amphetamine analogue (see USSG § 2D1.1(b)(5)), and

increased by two levels because the offense involved the distribution of drugs through

mass-marketing by means of an interactive computer service (see USSG § 2D1.1(b)(7)).

PSR ¶¶ 55-57. This would result in a total offense level of 42 and a guideline range of

360 months to life imprisonment. PSR ¶¶ 65, 73, 96.

                                 Premises Enhancement

      In addition to the enhancements recommended by the probation office, the

government urges the Court to apply an additional two-level enhancement because the

defendant maintained a premises for the purpose of manufacturing or distributing a

controlled substance. USSG § 2D1.1(b)(12). This would increase the defendant’s total

offense level to 44 and result in a guideline sentence of life imprisonment.

See USSGCh. 5, Pt. A (Sentencing Table). The enhancement is strongly supported by

the evidence.

      The Sentencing Guidelines provide that “[i]f the defendant maintained a premises

for the purpose of distributing a controlled substance, increase by 2 levels.”

USSG § 2D1.1(b)(12). In related commentary, the Guidelines provide:

      Subsection (b)(12) applies to a defendant who knowingly maintains a
      premises (i.e., a building, room, or enclosure) for the purpose of
      manufacturing or distributing a controlled substance, including storage of a
      controlled substance for the purpose of distribution.

      Among the factors the court should consider in determining whether the
      defendant “maintained” the premises are (A) whether the defendant held a
      possessory interest in (e.g., owned or rented) the premises and (B) the extent
      to which the defendant controlled access to, or activities at, the premises.




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       Manufacturing or distributing a controlled substance need not be the sole
       purpose for which the premises was maintained, but must be one of the
       defendant’s primary or principal uses for the premises, rather than one of the
       defendant’s incidental or collateral uses for the premises. In making this
       determination, the court should consider how frequently the premises was
       used by the defendant for manufacturing or distributing a controlled
       substance and how frequently the premises was used by the defendant for
       lawful purposes.

USSG § 2D1.1, comment. (n.17).

       The defendant knowingly maintained premises at 30 Fifth Avenue, Apartment 5,

Hopkins, Minnesota. He leased the property and, by all accounts, was its sole occupant at

the time of the instant offenses.   The defendant also controlled access to the premises and

all of the activities occurring therein.

       The sole question for the Court to resolve, therefore, is for what “purpose” were the

premises maintained? While the Guidelines state that drug trafficking “must be one of the

defendant’s primary or principal uses for the premises, rather than one of the defendant’s

incidental or collateral uses for the premises,” the Guidelines also state that drug trafficking

“need not be the sole purpose for which the premises was maintained.” USSG § 2D1.1,

comment. (n.17). The Guidelines provide only two criteria for making this determination,

namely, “how frequently the premises was used by the defendant for manufacturing or

distributing a controlled substance and how frequently the premises was used by the

defendant for lawful purposes.” Id.

       As to the first criterion, the government presented overwhelming evidence that the

defendant used his apartment over a span of many months to manufacture, 3 distribute and


       3. The term “manufacture” includes the packaging or repackaging of a drug or

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store drugs. In fact, he ran his entire mass marketing drug business from his apartment

and from nowhere else. He would receive drugs from China there, repackage them,

market them from a computer in his apartment, place them in express mail envelopes and

then leave his apartment for a short time to mail the drugs to his customers at a nearby post

office. For almost two years, the defendant conducted hundreds of drug transactions on a

daily basis in this manner from his apartment. Furthermore, during a search of the

defendant’s apartment on December 6, 2016, officers found a cornucopia of drugs, the

defendant’s computer (and computer accessories) used to order and market the drugs, a pill

making machine and hundreds of pill capsules, mylar baggies, scales, express mail

envelopes, packages sent from China, and numerous other drug-related items. As such,

the first criterion (i.e. the frequency of the use of the premises for drug trafficking) weighs

heavily in the government’s favor.

       As to the second criterion, there is no evidence to suggest that the premises was ever

used for lawful purposes other than to provide a residence for the defendant at the same

time he was engaging in his quotidian drug trafficking activities. The Guidelines are silent

as to whether residing at the premises should even be considered as a factor to weigh in a

defendant’s favor; but, it is clear from the case law that this factor provides scant support

for the defendant.    See, e.g., United States v. Miller, 698 F.3d 699 (8th Cir. 2012)

(upholding enhancement where residence was defendant’s primary residence which she

used for three drug transactions); United States v. Wallace, 822 F. App’x 502, 503-04




other substance. 21 U.S.C. § 802(15).

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(8th Cir. 2020) (upholding enhancement where defendant sold marijuana from his principal

residence and where officers later seized drugs, firearms, ammunition, and drug-related

items); United States v. Owens, 966 F.3d 700, 710 (8th Cir. 2020) (finding no error in

applying enhancement where police saw defendant leave his house immediately before

selling drugs on three occasions and where the police later seized drugs, guns, and drug

paraphernalia from two rooms and the basement of the residence); United States v.

Cardenas-Sanchez, 784 F. App’x 287 (5th Cir. 2019) (rejecting defendant’s claim that

because he lived at his home with his family and only temporarily stored drugs there, the

enhancement should not apply); United States v. Leggett, 800 F. App’x 378, 381

(6th Cir. 2020) (affirming district court’s application of premises enhancement where

evidence suggested defendant used residence for storage of drugs and drug transactions

and the police later found a scale, packaging material, three cell phones, and $700 in the

home); United States v. Flores-Olague, 717 F.3d 526, 533-34 (7th Cir. 2013) (upholding

enhancement where defendant lived at the premises and sold and stored drugs there on a

daily basis for three years); United States v. Morris, 807 F. App’x 906, 909-10

(11th Cir. 2020) (upholding enhancement where defendant sold drugs outside her residence

and stored small amounts of drugs and packaging materials inside the residence).

       In concluding that the enhancement was applicable where a defendant had used his

residence to store marijuana on several occasions, the Fifth Circuit recently stated:

       We conclude that Galicia’s premises had at least two primary uses: (1) as
       his residence, and (2) as a storage site for drug distribution. These primary
       uses need not be equivalent. Galicia may have lived in the premises and
       raised his family there for thirty-five years, but we agree with the district
       court that the premises were eventually used on a continuing basis for the


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      storage and distribution of drugs. Hence, the long-term, residential quality
      of the premises cannot shield Galicia from this enhancement—indeed, if that
      were the case, a drug dealer could effectively immunize his home, provided
      he lived there long enough.

United States v. Galicia, 983 F.3d 842, 844-45 (5th Cir. 2020).

      The Sixth Circuit in the Leggett case discussed the relatively low quantum of

evidence needed to support the enhancement for residential premises:

      Leggett contends that the distribution of drugs was not “the primary purpose”
      of his Cobb Avenue residence. But a defendant may qualify for the drug
      house enhancement so long as one of his primary or principal uses for the
      premises is the distribution of drugs. This is a relatively low bar: drug
      storage on the property and transactions on the property will usually suffice.
      At bottom, the question is whether Leggett’s home played a significant part
      in distributing drugs.

Leggett, 800 F. App’x at 381 (cleaned up).

      Here, the evidence is simply overwhelming that the defendant’s apartment “played

a significant part” in distributing drugs. As such, a two-level enhancement should be

applied under § 2D1.1(b)(12).

                 Enhancement for Importing an Amphetamine Analogue

      The defendant initially objected to the probation office’s recommendation of a two-

level enhancement for importation of an amphetamine analogue. See PSR at 26. 4 This

objection has no support in the law or facts of this case. The Sentencing Guidelines

provide that the enhancement applies where “the offense involved the importation of

amphetamine . . . .” USSG § 2D1.1(b)(5). Significantly, the Guidelines provide that




        4. The defendant has apparently now withdrawn his objection by failing to raise it
in his sentencing position. See Doc. 230.

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analogues fall under this provision. USSG § 2D1.1, comment (n.6) (“Any reference to a

particular controlled substance in these guidelines includes all salts, isomers, all salts of

isomers, and, except as otherwise provided, any analogue of that controlled substance.”)

(emphasis added).

       The government proved at trial that 4-Flouroamphetamine (“4-FA”) is an analogue

of amphetamine and that in December 2014 and January 2015 the defendant arranged the

importation of two packages from China, which contained sizeable quantities of 4-FA.

See GEs S-1 to S-5; GEs GG-1, GG-2. Moreover, it is clear from the defendant’s various

e-mails and website pages that he actively marketed 4-FA, received quantities of 4-FA

from his China-based suppliers, and then sold 4-FA to various customers. Finally, the

jury convicted the defendant of having conspired with others to distribute 4-FA. In short,

the evidence was overwhelming that the offense involved the importation of an

amphetamine analogue and that the enhancement therefore applies.

                     The History and Characteristics of the Defendant

       The defendant is 31 years old and was born in Evanston, Illinois. PSR ¶ 77. He

has three siblings. Id. The defendant was initially raised by his mother in Illinois.

PSR ¶ 78. They later relocated to Louisiana. Id. The defendant would at times live with

his father. Id. His parents both had a history of substance abuse. PSR ¶ 79.

       The defendant has never been married and has no children. PSR ¶ 80. Prior to his

arrest, he lived alone in his apartment in Hopkins.        PSR ¶ 81.    The defendant has

hypertension for which he receives medication. PSR ¶ 82. He also has mental health




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issues and a history of substance abuse, which are described more fully in the PSR.

See PSR ¶¶ 83-87.

       The defendant never finished high school, but he reports that he earned his GED

while incarcerated in Pennsylvania.      PSR ¶¶ 88-89.      He has never been formally

employed and has supported himself through odd jobs and by selling drugs. PSR ¶ 91.

The defendant has no assets and does not appear to have the ability to pay a criminal fine

within the established fine range. PSR ¶¶ 92-94.

                                 The Needs of Sentencing

       It is hard to imagine a more serious drug case. The defendant’s drug trafficking

activities killed at least 11 people and injured many others. What is more, the defendant

has shown no remorse for his actions. His decision to distribute lethal drugs to his

customers (even after he discovered that some had become seriously ill) is simply

reprehensible. Those who died were plucked from this world unaware that they were

dealing with a person who cared nothing about them and only about the profits he was

making from selling drugs. Those who survived will live with physical and mental trauma

for the rest of their lives. And those who suffered the loss of their loved ones, will never

be the same.

       Considering the § 3553(a) factors as a whole, the government asks the Court to

impose a sentence of life imprisonment.          This sentence would serve the needs of

sentencing to reflect the seriousness of the offenses, to promote respect for the law, to

provide just punishment, to afford adequate deterrence, to protect the public from further




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crimes of the defendant, and to avoid unwarranted sentencing disparities among

defendants.

      WHEREFORE, the government asks this Honorable Court to impose a sentence of

life imprisonment.

Dated: July 26, 2022                 Respectfully submitted,

                                     ANDREW M. LUGER
                                     United States Attorney

                                     s/Thomas M. Hollenhorst
                                     BY: THOMAS M. HOLLENHORST
                                     Assistant United States Attorney
                                     Attorney ID No. 46322

                                     s/TMelinda A. Williams
                                     BY: MELINDA A. WILLIAMS
                                     Assistant United States Attorney




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